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   Proposed Counsel to the Debtors
   and the Debtors-in-Possession

   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

   -------------------------------------- x
   In re:                                                             : Chapter 11
                                                                      :
   HOUGHTON MIFFLIN                                                   : Case No. 12-____ (___)
   HARCOURT PUBLISHING COMPANY, et al.,1                              :
                                                                      : (Joint Administration Pending)
                                               Debtors.               :
   -------------------------------------- x

              DEBTORS’ MOTION FOR AN ORDER (I) SCHEDULING A
             COMBINED HEARING TO CONSIDER (A) THE APPROVAL
           OF (1) THE DEBTORS’ DISCLOSURE STATEMENT AND (2) THE
           DEBTORS’ PREPETITION SOLICITATION PROCEDURES; AND
          (B) CONFIRMATION OF THE DEBTORS’ PREPACKAGED PLAN;
         AND (II) APPROVING THE FORM OF NOTICE OF THE COMBINED
       CONFIRMATION HEARING AND DISCLOSURE STATEMENT HEARING

                    Houghton Mifflin Harcourt Publishing Company and its affiliated debtors

   and debtors-in-possession in the above-captioned cases (each a “Debtor,” and

   1
       The Debtors in these cases along with the last four digits of each Debtor’s federal tax identification
       number, are Houghton Mifflin Harcourt Publishing Company (6030), Houghton Mifflin Harcourt
       Publishers Inc. (7305), HMH Publishers, LLC (7173), Houghton Mifflin Holding Company, Inc.
       (2898), Houghton Mifflin, LLC (2961), Houghton Mifflin Finance, Inc. (2812), Houghton Mifflin
       Holdings, Inc. (0674), HM Publishing Corp. (5843), Riverdeep Inc., a Limited Liability Company
       (9612), Broderbund LLC (6113), RVDP, Inc. (2557), HRW Distributors, Inc. (4902), Greenwood
       Publishing Group, Inc. (4537), Classroom Connect, Inc. (3282), ACHIEVE! Data Solutions, LLC
       (7499), Steck-Vaughn Publishing LLC (6929), HMH Supplemental Publishers Inc. (7571), HMH
       Holdings (Delaware), Inc. (6372), Sentry Realty Corporation (6742), Houghton Mifflin Company
       International, Inc. (9100), The Riverside Publishing Company (0173), Classwell Learning Group Inc.
       (9252), Cognitive Concepts, Inc. (5986), Edusoft (9992), Advanced Learning Centers, Inc. (2861).
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   collectively, the “Debtors”), by and through their undersigned counsel, hereby move (the

   “Motion”) this Court for an order (A) scheduling a combined hearing to consider (1)

   approval of (i) the Disclosure Statement for the Prepackaged Joint Plan of Reorganization

   of the Debtors Under Chapter 11 of the Bankruptcy Code (the “Disclosure Statement”)

   pursuant to sections 1125 and 1126 of title 11 of the United States Code, 11 U.S.C.,

   §§ 101 et seq. (the “Bankruptcy Code”) and this Court’s Amended Procedural Guidelines

   for Prepackaged Chapter 11 Cases in the United States Bankruptcy Court for the

   Southern District of New York (the “Prepackaged Guidelines”), and (ii) the Debtors’

   procedures with respect to the prepetition solicitation of votes to accept or reject the

   Prepackaged Joint Plan of Reorganization of the Debtors Under Chapter 11 of the

   Bankruptcy Code (the “Prepackaged Plan”) pursuant to Rule 3018(b) of the Federal

   Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and the Prepackaged

   Guidelines (the “Disclosure Statement Hearing”), and (2) confirmation of the

   Prepackaged Plan pursuant to sections 1128 and 1129 of the Bankruptcy Code (the

   “Confirmation Hearing”); and (B) approving the form of notice of the combined

   Disclosure Statement Hearing and the Confirmation Hearing (the “Combined Hearing”)

   substantially in the form annexed hereto as Exhibit A, and respectfully represents:

                                        JURISDICTION

                  1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C.

   §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is

   proper in this District and before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.




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                  2.      The statutory and legal predicates for the relief requested herein

   are sections 1125, 1126, 1128 and 1129 of the Bankruptcy Code, Bankruptcy Rules

   3016(b) and 3018(b), and the Prepackaged Guidelines.

                                       BACKGROUND

                  3.      On the date hereof (the “Petition Date”), each of the Debtors filed

   with this Court a voluntary petition for relief under chapter 11 of the Bankruptcy Code.

   The Debtors continue to operate their businesses and manage their properties as debtors-

   in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. As

   described more fully below, contemporaneously with the filing of their petitions, the

   Debtors also filed their Prepackaged Joint Plan of Reorganization (the “Prepackaged

   Plan”) to implement a restructuring of certain of the Debtors’ outstanding indebtedness

   and existing equity interests. Although the solicitation period remains open, as of the

   Petition Date, 90.3% of the total amount of creditors entitled to vote on the Prepackaged

   Plan voted in favor of the Prepackaged Plan and 76% in amount of equity holders entitled

   to vote on the Prepackaged Plan voted in favor of the Prepackaged Plan. The Debtors did

   not receive any ballots rejecting the Prepackaged Plan. As a result of the overwhelming

   support for the Prepackaged Plan, the Debtors intend to move forward with confirmation

   of the Prepackaged Plan at the Court’s earliest available date.

                  4.      The Debtors comprise one of the leading educational publishers in

   the U.S. public school market (known as kindergarten to grade 12 or “K-12”). The

   Debtors offer a diverse portfolio of products and services, including textbooks,

   workbooks, supplemental materials, technology-based products, teaching guides, various

   types of standardized and customized tests, professional assessment products, and a wide



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   range of trade and reference titles. The Debtors are organized into the following two

   divisions: education and trade and reference. The education division is the largest

   division and represents approximately 90% of the Debtors’ total revenue. The Debtors’

   revenue and EBITDA for the year ended December 31, 2011 were approximately $1.295

   billion and $238 million, respectively.

                  5.      The global financial crisis over the past several years has

   negatively affected the Debtors’ recent financial performance. The Debtors’ business

   depends largely on state and local funding and the recession-driven decreases in state

   spending as well as significant purchase deferrals in key states and territories resulted in

   material reductions in the overall size of the Debtors’ key K-12 market. Lack of

   anticipated federal stimulus support also contributed to the Debtors’ substantial revenue

   decline. As a result of the deteriorating macroeconomic conditions, the Debtors, along

   with certain of their non-debtor affiliates, implemented a consensual out-of-court

   restructuring in March, 2010. Despite the out-of-court restructuring, due to the

   continuing contraction of funds for state education spending and higher deferrals of

   awarded business than expected, the Debtors have continued to experience financial

   difficulties. On or about December 22, 2011 and December 29, 2011, the Debtors

   entered into amendments to their first lien credit facility and receivables facility,

   respectively (collectively, the “Amendments”).

                  6.      Notwithstanding the Amendments, the Debtors have determined

   that a complete delevering of their capital structure is now necessary. In or about March

   2012, significant holders of claims under the Debtors’ first lien credit facility and the

   10.5% Notes formed an informal creditor group (the “Informal Creditor Group”). Since



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   its formation, the Informal Creditor Group and its advisors have engaged in constructive

   dialogue with the Debtors regarding a comprehensive restructuring of the Debtors’

   outstanding debt and equity.

                   7.       After months of good faith, arm’s-length negotiations among the

   Debtors and the Informal Creditor Group and their respective advisors, on May 10, 2012,

   the parties reached an agreement on the terms of a restructuring to completely delever the

   Debtors’ balance sheet. The Debtors have commenced these chapter 11 cases to

   implement the terms of the agreement which has been embodied in the Prepackaged Plan

   and the accompanying Restructuring Support Agreement. 2

          THE PROPOSED PREPACKAGED PLAN OF REORGANIZATION

                   8.       In general, the Prepackaged Plan provides for the restructuring of

   the Debtors’ capital structure in a manner designed to maximize recoveries to holders of

   claims against, and equity interests in, the Debtors, without disruption to the Debtors’

   business operations.

                   9.       The Prepackaged Plan contemplates that (i) Senior Creditors shall

   receive their pro rata share of (a) 100% of New Common Stock, subject to dilution for (x)

   New Common Stock to be issued pursuant to the Management Incentive Plan and (y) to

   the extent applicable, New Common Stock to be issued upon exercise of the New

   Warrants, and (b) $30.3 million in Cash; (ii) except to the extent that a holder of an

   Allowed Letter of Credit Facility Claim and the Debtors with the consent of the Requisite

   Participating Lenders agree to a different treatment, the outstanding letters of credit

   issued under the Letter of Credit Facility shall either continue unaffected upon

   2
        Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the
        Prepackaged Plan and Disclosure Statement.


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   consummation of the Prepackaged Plan or be replaced by the Exit Facility and the Letter

   of Credit Facility shall be deemed terminated; (iii) holders of Allowed General

   Unsecured Claims shall receive Cash in amount equal to such holder’s Allowed General

   Unsecured Claim plus accrued and unpaid Post-Petition Interest or shall otherwise

   continue unaffected upon consummation of the Prepackaged Plan, to be paid in the

   ordinary course of business; and (iv) if the Class of Existing Common Stockholders votes

   to accept the Prepackaged Plan, the Existing Common Stockholders shall be entitled to

   receive their pro rata share of the New Warrants; if such Class votes to reject the

   Prepackaged Plan, the Existing Common Stockholders shall not be entitled to a

   distribution under the Prepackaged Plan. The Receivables Facility shall be paid in full

   from the proceeds of the debtor in possession financing that will be provided to the

   Debtors in the Chapter 11 Cases.

                  10.     The Debtors believe that (i) through the Prepackaged Plan, holders

   of Allowed Claims and Equity Interests will obtain a substantially greater recovery from

   the Debtors’ estates than the recovery they would receive if (a) the Debtors filed

   chapter 11 petitions without the Prepackaged Plan or (b) the Debtors were liquidated

   under chapter 7 of the Bankruptcy Code, and (ii) the Prepackaged Plan will afford the

   Debtors the opportunity and ability to continue their business with sufficient liquidity to

   operate as a successful going concern.

                        RESULTS OF PREPETITION SOLICITATION

                  11.     In connection with the Prepackaged Plan, the Debtors prepared the

   Disclosure Statement describing, among other things, the proposed reorganization and its

   effects on holders of claims against and interests in the Debtors. Following the launch of



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   the solicitation of votes on the Prepackaged Plan, the Debtors and/or their Voting Agent,

   caused copies of the Disclosure Statement, the Prepackaged Plan (attached to the

   Disclosure Statement) and the appropriate Ballot to be transmitted to the holders of

   Class 3 Claims and Class 8 Equity Interests. The Debtors established 5:00 p.m. (New

   York City time) on May 18, 2012 as the Voting Deadline for the First Lien Bank Lenders

   and 5:00 p.m. (New York City time) on June 11, 2012 for the Bondholders and the

   Existing Common Stockholders.3 May 10, 2012 was set as the Voting Record Date.

   Solicitation commenced on May 11, 2012. As the solicitation period is still ongoing, the

   Debtors will not know the final results of the solicitation until June 11, 2012.

                   12.      Voting results to date indicate that the impaired classes of claims

   and interests entitled to vote on the Prepackaged Plan, namely Classes 3 and 8, voted to

   accept the Prepackaged Plan. Specifically, 90.3% of the total amount of creditors entitled

   to vote on the Prepackaged Plan voted in favor of the Prepackaged Plan and 76% in

   amount of equity holders entitled to vote on the Prepackaged Plan voted in favor of the

   Prepackaged Plan. Substantially contemporaneously herewith, the Debtors will file a

   declaration on behalf of KCC certifying the results and methodology for tabulation of

   ballots accepting or rejecting the Prepackaged Plan.




   3
       The Restructuring Support Agreement, annexed to the Disclosure Statement as Appendix E, provides
       that Participating Lenders must cast their Ballots by May 18, 2012.


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                                     RELIEF REQUESTED

                  13.     Bankruptcy Code section 105(d)(2)(B)(vi) authorizes the

   Bankruptcy Court to combine a hearing on a disclosure statement with the hearing on

   confirmation of a plan of reorganization. The Debtors request that the Confirmation

   Hearing and the Disclosure Statement Hearing be combined and held as soon as

   practicable after the Petition Date.

                  14.     The Debtors respectfully submit that the Combined Hearing in

   these chapter 11 cases will further the interests of judicial economy and maximize value

   to the Debtors’ estates. The Debtors seek a speedy and orderly confirmation in order to

   retain their customer base, maintain the trust of their employees, preserve lenders’

   confidence in their ability to reorganize, facilitate a prompt distribution to all creditors

   and to minimize disruption to the Debtors’ businesses.

   A. Scheduling of Hearing to Consider Approval of
      the Disclosure Statement and the Pre-petition Solicitation Procedures

                  15.     Bankruptcy Rules 3017(a) and 3018(b), section 1126 of the

   Bankruptcy Code and the Prepackaged Guidelines govern the approval of disclosure

   statements disseminated in connection with prepackaged chapter 11 cases. In particular,

   Bankruptcy Rule 3017(a) provides, in relevant part, as follows:

                          Except as provided in Rule 3017.1, after a disclosure statement is
                          filed in accordance with Rule 3016(b), the court shall hold a
                          hearing on at least 28 days’ notice to the debtor, creditors, equity
                          security holders and other parties in interest as provided in Rule
                          2002 to consider the disclosure statement and any objections or
                          modifications thereto. The plan and the disclosure statement shall
                          be mailed with the notice of the hearing only to the debtor, any
                          trustee or committee appointed under the Code, the Securities and
                          Exchange Commission and any party in interest who requests in
                          writing a copy of the statement or plan. Objections to the
                          disclosure statement shall be filed and served on the debtor, the


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                             trustee, any committee appointed under the Code and any other
                             entity designated by the court, at any time before the disclosure
                             statement is approved or by an earlier date as the court may fix.

                    16.      Section 1126(b) of the Bankruptcy Code provides as follows:

                             for the purposes of subsections (c) and (d) of this section, a holder
                             of a claim or interest that has accepted or rejected the plan before
                             the commencement of the case under this title is deemed to have
                             accepted or rejected such plan, as the case may be, if –

                             (1)     the solicitation of such acceptance or rejection was in
                             compliance with any applicable nonbankruptcy law, rule, or
                             regulation governing the adequacy of disclosure in connection with
                             such solicitation; or

                             (2)    if there is not any such law, rule, or regulation, such
                             acceptance or rejection was solicited after disclosure to such holder
                             of adequate information, as defined in section 1125(a) of this title.

                    17.      Bankruptcy Rule 3018(b) provides, in relevant part, as follows:

                             A holder of a claim or interest who has accepted or rejected a plan
                             before the commencement of the case under the Code shall not be
                             deemed to have accepted or rejected the plan if the court finds after
                             notice and hearing that the plan was not transmitted to substantially
                             all creditors and equity security holders of the same class, that an
                             unreasonably short time was prescribed for such creditors and
                             equity security holders to accept or reject the plan, or that the
                             solicitation was not in compliance with § 1126(b) of the Code.

                    18.      The Disclosure Statement and all exhibits thereto (together with

   the ballots for voting on the Prepackaged Plan) were provided to all Senior Creditors and

   Existing Common Stockholders, which are the only creditors voting on the Prepackaged

   Plan, on or about May 11, 2012.4 An affidavit of mailing will be filed with the Court by

   KCC as soon as practicable. The solicitation documents, including the ballots, were also

   posted on the Intralinks websites maintained by the First Lien Administrative Agent and

   the 10.5% Indenture Trustee, respectively. The voting period ended at 5:00 p.m. (New

   4
       Forms of the ballots which were provided to creditors entitled to vote on the Plan are collectively
       annexed hereto as Exhibit B.


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   York City time) on May 18, 2012 for the First Lien Bank Lenders and will end at

   5:00 p.m. (New York City time) on June 11, 2012 for the Bondholders and the Existing

   Common Stockholders. As noted above, the holders of the only claims and interests

   entitled to vote on the Prepackaged Plan have thus far voted overwhelmingly to accept

   the Prepackaged Plan. Notwithstanding the twenty-one (21) day voting period provided

   in the Prepackaged Guidelines, given the circumstances of this case, with the number and

   amount of stakeholders voting in favor of the Prepackaged Plan, the Debtors submit that

   adequate and sufficient time has been provided for creditors and interest holders to vote

   on the Prepackaged Plan.

                    19.     The Disclosure Statement included, but was not limited to, the

   following information: (i) background information about the Debtors; (ii) the Debtors’

   corporate and capital structure; (iii) certain of the Debtors’ historical financials; (iv) the

   events leading to the restructuring; (v) the terms and effects of, and conditions precedent

   to, the Prepackaged Plan; (vi) the terms and treatment of creditors and equity interest

   holders provided for under the Prepackaged Plan; (vii) procedures for voting on the

   Prepackaged Plan; (viii) financial projections and liquidation analysis; and (ix) certain

   risk factors.

                    20.     Accordingly, the Debtors respectfully submit that:

                            (a)    The Disclosure Statement contains adequate information to
                            permit holders of claims against and equity interests in the Debtors
                            to make an informed judgment about the Prepackaged Plan as
                            required by sections 1125(a) and 1126(b)(2) of the Bankruptcy
                            Code, and complies with all applicable non-bankruptcy laws;

                            (b)     The Disclosure Statement and solicitation procedures
                            instituted in connection therewith are in full compliance with
                            applicable provisions of the Bankruptcy Code and the Bankruptcy
                            Rules;


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                          (c)    The Debtors’ solicitation of acceptances to the Prepackaged
                          Plan complied with all requirements of Bankruptcy Rule 3018; and

                          (d)    The proposed notices and service thereof satisfy all the
                          requirements of Bankruptcy Rules 2002(b) and 3017(d).

                  21.     Furthermore, the Debtors respectfully submit that the solicitation

   of all votes to accept or reject the Prepackaged Plan required for confirmation of the

   Prepackaged Plan was completed prior to the commencement of the Debtors’ chapter 11

   case, that no additional solicitation of votes on the Prepackaged Plan is contemplated by

   the Debtors, that notwithstanding the pending Voting Deadline of June 11, 2012 for the

   Debtors to receive the completed Ballots of certain Bondholders and Existing Common

   Stockholders, no additional solicitation of votes to accept or reject the Prepackaged Plan

   will be required, in accordance with the Prepackaged Guidelines.

                  22.     In addition, given that Class 9 is impaired and deemed to reject the

   Plan, the Debtors request confirmation under section 1129(b) of the Bankruptcy Code. If

   Class 8 does not vote to accept the Prepackaged Plan, the Debtors will also seek

   confirmation with respect to that Class under section 1129(b) of the Bankruptcy Code.

                  23.     Based on the foregoing, the Debtors respectfully request that the

   Court enter an order scheduling a hearing to consider approval of the Disclosure

   Statement and the Debtors’ pre-petition solicitation procedures, in accordance with the

   notice procedures set forth below.

   B. Scheduling A Hearing To Consider Confirmation of the Proposed Prepackaged
      Plan

                  24.     Pursuant to section 1128(a) of the Bankruptcy Code, the Debtors

   request that the Court set a hearing to consider confirmation of the Prepackaged Plan.




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   Section 1128(a) of the Bankruptcy Code provides that “[a]fter notice, the court shall hold

   a hearing on confirmation of a plan.”

                  25.     The Debtors respectfully submit that it is appropriate for this Court

   to schedule a hearing to consider confirmation of the Prepackaged Plan immediately upon

   conclusion of the Disclosure Statement Hearing. As stated above, prior to the Petition

   Date, the Debtors received numerous votes accepting the Prepackaged Plan from the

   Senior Creditors and Existing Common Stockholders – the only classes voting on the

   Prepackaged Plan. The Debtors believe that such acceptances will be sufficient under

   sections 1126(b), (c) and (d) and section 1129 of the Bankruptcy Code to confirm the

   Prepackaged Plan. Specifically, as set forth in the Declaration of Peter Walsh of

   Kurtzman Carson Consultants LLC filed concurrently with the Motion, 90.3% of the total

   amount of creditors entitled to vote on the Prepackaged Plan voted in favor of the

   Prepackaged Plan and 76% in amount of equity holders entitled to vote on the

   Prepackaged Plan voted in favor of the Prepackaged Plan.

                  26.     Accordingly, the Debtors respectfully request that the Court

   schedule a hearing immediately following the Disclosure Statement Hearing to consider

   confirmation of the Prepackaged Plan in accordance with the notice procedures set forth

   below.

                  27.     Inasmuch as the Prepackaged Plan will soon be accepted by the

   only two classes entitled to vote thereon, there is no cause to delay consideration of the

   Disclosure Statement, the solicitation procedures and the Prepackaged Plan. In this

   regard, the Debtors respectfully request that the Court schedule the Disclosure Statement

   Hearing so as to be held as soon as practicable, following the notice procedures set forth



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   below, and that the Court schedule the Confirmation Hearing so as to be held

   immediately upon the conclusion of the Disclosure Statement Hearing on the same date.

   Contemporaneous hearings will facilitate the Debtors’ successful reorganization and

   speedy emergence from their chapter 11 cases.

   C. Notice Procedures

                  28.     Bankruptcy Rule 2002(b) and 3017(a) require that parties-in-

   interest be given at least 28 days’ notice of any hearing to consider approval of a

   disclosure statement or the confirmation of a plan. In light of the prepetition negotiations

   with the Informal Creditor Group, the overwhelming support for the Prepackaged Plan

   shown by the Senior Creditors and Equity Common Stockholders and for the reasons set

   forth above, the proposed schedule will afford parties-in-interest ample notice of the

   Combined Hearings.

                  29.     Pursuant to the Prepackaged Guidelines, the Debtors propose to

   give notice for the Combined Hearings (the “Hearing Notice”) by providing a notice,

   substantially in the form annexed hereto as Exhibit C (the “Notice”) by federal express on

   May 25, 2012, to: (i) all holders of impaired claims and equity interests against the

   Debtors; (ii) the United States Trustee, Attention: Andrea B. Schwartz; (iii) the

   Securities and Exchange Commission; and (iv) the District Director of the Internal

   Revenue Service. Pursuant to Bankruptcy Rule 3017(a), the Debtors submit that notice

   need not be transmitted to holders of unimpaired claims and equity interests against the

   Debtors.

                  30.     The Debtors respectfully request a waiver of the Prepackaged

   Guidelines’ requirement that paper copies of the Notice be transmitted to “all parties-in-



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   interest.” Except for Classes 3, 8 and 9, all other holders of claims and equity interests,

   including all unsecured creditors, will be paid in full under the Prepackaged Plan and

   consequently, notification of unimpaired claims and equity interests is unwarranted and

   places an undue burden on the Debtors’ estates. In order to give notice of the Combined

   Hearings to presently unknown creditors of the Debtors, the Debtors propose to publish a

   notice in the form of Exhibit C hereto, once in the national edition of The Wall Street

   Journal at least two weeks prior to the hearings.

                  31.     Furthermore, under the circumstances of these cases, the Debtors

   submit that providing a copy of the Disclosure Statement and the Prepackaged Plan to all

   holders of claims against, or equity interests in, the Debtors in accordance with

   Bankruptcy Rule 3017(d), is unnecessary and unduly burdensome on the Debtors’

   estates. The Debtors further submit that Bankruptcy Rule 3017(d) is not applicable

   because no disclosure statement has been “approved.” In the alternative, the Debtors

   respectfully request that the Court waive the requirements of Bankruptcy Rule 3017(d)

   with respect to unimpaired classes under the Prepackaged Plan. Waiver of Bankruptcy

   Rule 3017(d) is consistent with the Notice requirements in the Prepackaged Guidelines

   which state that, “[n]o further distribution of the plan and disclosure statement (or other

   solicitation document) beyond that which occurred prepetition is required unless

   requested by a party-in-interest.” In conformity with the Prepackaged Guidelines, the

   Notice shall state that any creditor or other party-in-interest who desires to receive a copy

   of the Disclosure Statement and/or the Prepackaged Plan may obtain a copy thereof by

   contacting the Voting Agent or by going to the Voting Agent’s website at

   http://www.kccllc.net/hmhco. In addition, as required by Bankruptcy Rule 3017(a), the



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   Debtors will provide a copy of the Disclosure Statement and the Prepackaged Plan to (i)

   the United States Trustee, Attention: Andrea B. Schwartz; (ii) the Securities and

   Exchange Commission; (iii) counsel to any committee appointed by the United States

   Trustee (if any); and (iv) the District Director of the Internal Revenue Service .


                                            NOTICE

                  32.     As of the date hereof, no creditors’ committee, trustee, or examiner

   has been appointed in these chapter 11 cases. Notice of this Motion has been provided

   to: (i) the United States Trustee, Attention: Andrea B. Schwartz; (ii) counsel for the

   DIP/Exit Agent; (iii) the parties identified on the Debtors’ consolidated list of twenty (20)

   largest unsecured creditors; (iv) counsel for the Informal Creditor Group; (v) counsel for

   the Prepetition Senior Secured Notes Trustee; (vi) counsel for the Prepetition Agent;

   (vii) counsel for the Prepetition L/C Bank; (viii) the Securities and Exchange

   Commission; (ix) the United States Attorney for the Southern District of New York;

   (x) the Internal Revenue Service; (xi) the Environmental Protection Agency; (xii) the

   Pension Benefit Guaranty Corporation; (xiii) the New York State Department of

   Taxation; (xiv) the New York City Tax Department; and (xv) such other parties entitled

   to notice pursuant to Local Rule 9013-1(m). The Debtors submit that, in light of the

   nature of the relief requested, no other or further notice need be provided.


                                    NO PRIOR REQUEST

   No prior request for the relief sought herein has been made to this or to any other court.




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                  WHEREFORE the Debtors respectfully request that this Court enter an

   order substantially in the form attached hereto as Exhibit A granting the relief requested

   and such other relief as it deems just and proper.

   Dated: May 21, 2012                           PAUL, WEISS, RIFKIND WHARTON &
          New York, New York                     GARRISON LLP

                                                  By: /s/ Jeffrey D. Saferstein
                                                  Alan W. Kornberg
                                                  (akornberg@paulweiss.com)
                                                  Jeffrey D. Saferstein
                                                  (jsaferstein@paulweiss.com)
                                                  Philip A. Weintraub
                                                  (pweintraub@paulweiss.com)
                                                  1285 Avenue of the Americas
                                                  New York, New York 10019-6064
                                                  Telephone: (212) 373-3000
                                                  Facsimile: (212) 757-3990


                                                 Proposed attorneys for the Debtors and
                                                 Debtors-in-Possession




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                                   EXHIBIT A

                               PROPOSED ORDER
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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

   -------------------------------------- x
   In re:                                                             :
                                                                      : Chapter 11
   HOUGHTON MIFFLIN                                                   :
   HARCOURT PUBLISHING COMPANY, et al.,                               : Case No. 12-____ (___)
                                                                      :
                                              Debtors.                : (Joint Administration Pending)
   -------------------------------------- x

          ORDER (I) SCHEDULING A COMBINED HEARING TO CONSIDER
       (A) THE APPROVAL OF (1) THE DEBTORS’ DISCLOSURE STATEMENT
       AND (2) THE DEBTORS’ PREPETITION SOLICITATION PROCEDURES;
           AND (B) CONFIRMATION OF DEBTORS’ PREPACKAGED PLAN;
         AND (II) APPROVING THE FORM OF NOTICE OF THE COMBINED
       CONFIRMATION HEARING AND DISCLOSURE STATEMENT HEARING

                    Upon the motion (the “Motion”)1 of Houghton Mifflin Harcourt

   Publishing Company and its affiliated debtors and debtors-in-possession in the above-

   captioned cases (each a “Debtor,” and collectively, the “Debtors”), requesting entry of an

   order (A) scheduling a combined hearing to consider (1) approval of (i) the Disclosure

   Statement for the Prepackaged Joint Plan of Reorganization of the Debtors Under

   Chapter 11 of the Bankruptcy Code (the “Disclosure Statement”) pursuant to sections

   1125 and 1126 of title 11 of the United States Code, 11 U.S.C., §§ 101 et seq. (the

   “Bankruptcy Code”) and this Court’s Amended Procedural Guidelines for Prepackaged

   Chapter 11 Cases in the United States Bankruptcy Court for the Southern District of New

   York (the “Prepackaged Guidelines”), and (ii) the Debtors’ procedures with respect to the

   prepetition solicitation of votes to accept or reject the Prepackaged Joint Plan of


   1
       All capitalized terms used and not defined herein shall have the meaning ascribed to them in the
       Motion.
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   Reorganization of the Debtors Under Chapter 11 of the Bankruptcy Code (the

   “Prepackaged Plan”) pursuant to Rule 3018(b) of the Federal Rules of Bankruptcy

   Procedure (the “Bankruptcy Rules”) and the Prepackaged Guidelines (the “Disclosure

   Statement Hearing”), and (2) confirmation of the Prepackaged Plan pursuant to sections

   1128 and 1129 of the Bankruptcy Code (the “Confirmation Hearing”); and (B) approving

   the form of notice of the combined Disclosure Statement Hearing and Confirmation

   Hearing (together, the “Combined Hearing”); and upon consideration of the Affidavit of

   William F. Bayers pursuant to Rule 1007-2 of the Local Bankruptcy Rules for the

   Southern District of New York, sworn to on May 21, 2012; and this Court having

   jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C.

   §§ 157 and 1334; and it appearing that venue of these cases and the Motion in this

   District is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that this

   matter is a core proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that notice of

   the Motion has been given as set forth in the Motion and that such notice is adequate and

   no other or further notice need be given; and a hearing having been held to consider the

   relief requested in the Motion and upon the record of the hearing and all of the

   proceedings had before the Court; and the Court having found and determined that the

   relief sought in the Motion is in the best interests of the Debtors, their estates, their

   creditors and all other parties in interest; and that the legal and factual bases set forth in

   the Motion establish just cause for the relief granted herein; and after due deliberation

   and sufficient cause appearing therefor, it is hereby ORDERED that:

                   1.      The Motion is GRANTED as modified herein.

                   2.      This Court will hold a hearing to consider approval of the

   Disclosure Statement and of the Debtors’ procedures for the solicitation of votes to

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   accept or reject the Prepackaged Plan and immediately thereafter, a hearing to consider

   confirmation of the Prepackaged Plan on _________, 2012 at __:___ _.m. (EST) before

   the Honorable _________________, United States Bankruptcy Judge, in court room ___

   of the United States Bankruptcy Court for the Southern District of New York, One

   Bowling Green, New York, NY 10004.

                  3.      Service of notice, substantially in the form annexed to the Motion

   as Exhibit C (the “Notice”), which Notice is hereby approved, by Federal Express on

   May 25, 2012 to: (a) all holders of impaired claims against and equity interests in the

   Debtors, (b) the United States Trustee, Attention: Andrea B. Schwartz, (c) the Securities

   and Exchange Commission, and (d) the District Director of the Internal Revenue Service,

   shall constitute good and sufficient notice of this Order and of the proceedings to be held

   thereon.

                  4.      The Debtors shall serve the Disclosure Statement and the

   Prepackaged Plan on (i) the United States Trustee, Attention: Andrea B. Schwartz;

   (ii) the Securities Exchange Commission; (iii) counsel to any committee appointed by the

   United States Trustee (if any); and (iv) the District Director of the Internal Revenue

   Service .

                  5.      The Debtors shall cause a copy of the Notice in the form attached

   as Exhibit C to the Motion to be published once in the national edition of The Wall Street

   Journal at least two weeks prior to the Disclosure Statement Hearing and the

   Confirmation Hearing.

                  6.      The requirements of Bankruptcy Rule 3017(d) are waived with

   respect to unimpaired classes under the Prepackaged Plan. Instead, the Notice shall state



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   that any creditor or other party-in-interest who desires to receive a copy of the Disclosure

   Statement and/or the Prepackaged Plan may obtain a copy thereof by contacting the

   Voting Agent or by going to the Voting Agent’s website at http://www.kccllc.net/hmhco.

                  7.      No further notice need be given to holders of claims against, or

   equity interests in, the Debtors of any adjournment of the Disclosure Statement Hearing

   or the Confirmation Hearing except (i) as announced in open court at the Disclosure

   Statement Hearing or the Confirmation Hearing or at any subsequent Disclosure

   Statement Hearing or Confirmation Hearing so announced and (ii) as posted on the

   Voting Agent’s website at http://www.kccllc.net/hmhco.

                  8.      All responses and/or objections to approval of the Disclosure

   Statement, the Debtors’ solicitation procedures, and/or to confirmation of the

   Prepackaged Plan must be made in writing and be filed with the Clerk of the United

   States Bankruptcy Court for the Southern District of New York (including a copy for the

   Chambers of the Honorable _________, together with proof of service thereof, and

   served upon (i) counsel to the Debtors, Paul, Weiss, Rifkind, Wharton & Garrison LLP,

   1285 Avenue of the Americas, New York, NY 10019-6064, Attention: Alan W.

   Kornberg, Esq. and Jeffrey D. Saferstein, Esq.; (ii) counsel to the Informal Creditor

   Group, Akin, Gump Strauss, Hauer & Feld LLP, One Bryant Park, New York, NY

   10036, Attention: Ira S. Dizengoff, Esq. and Philip C. Dublin, Esq.; (iii) counsel to the

   agent for postpetition lenders and the First Lien Agents, Shearman & Sterling LLP, 599

   Lexington Avenue, New York, NY 10022, Attention: Edmund Emrich, Esq. and Fredric

   Sosnick, Esq.; (iv) counsel to the 10.5% Indenture Trustee, Emmet, Marvin & Martin

   LLP, 120 Broadway, 32nd Floor, New York, NY 10271, Attention: Bryant Berg, Esq.;



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   (v) the United States Trustee, 33 Whitehall Street, 21st Floor, New York, NY 10004,

   Attention: Andrea B. Schwartz, Esq.; (vi) Securities and Exchange Commission, New

   York Regional Office, Three World Financigla Center, Suite 400, New York, NY

   10281-1022, Attention: George S. Canellos, Regional Director; (vii) counsel to any

   official committee appointed in these chapter 11 cases (if any); and (viii) any parties

   requesting notice pursuant to Bankruptcy Rule 2002, so as to be received by all such

   parties no later than _:__ _.m. (New York City time) on _________, 2012.


   Dated:   _________________, 2012
            New York, New York


                                                 UNITED STATES BANKRUPTCY JUDGE




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                                   EXHIBIT B

    CLASS 3 AND CLASS 8 BALLOTS FOR ACCEPTING OR REJECTING THE
    PREPACKAGED JOINT PLAN OF REORGANIZATION OF THE DEBTORS
             UNDER CHAPTER 11 OF THE BANKRUPTCY CODE
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                BALLOT FOR ACCEPTING OR REJECTING THE
             PREPACKAGED JOINT PLAN OF REORGANIZATION OF
         THE DEBTORS UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

            BALLOT FOR CLASS 3 SENIOR CREDITORS HOLDING FIRST
              LIEN BANK CLAIMS (THE “FIRST LIEN BANK CLAIMS”)

           Houghton Mifflin Harcourt Publishing Company and certain of their affiliates
   (collectively, the “Debtors”) are soliciting votes with respect to the Prepackaged Joint
   Plan of Reorganization of the Debtors Under Chapter 11 of the Bankruptcy Code (the
   “Plan”). The Plan is attached as Appendix A to the Disclosure Statement for the
   Prepackaged Joint Plan of Reorganization of the Debtors Under Chapter 11 of the
   Bankruptcy Code (the “Disclosure Statement”). If you are, as of May 10, 2012 (the
   “Voting Record Date”), a First Lien Bank Lender1 holding a Class 3 Claim, please use
   this Ballot to cast your vote to accept or reject the Plan.

           This Ballot is being sent to beneficial owners of the First Lien Bank Claims. The
   Plan can be confirmed by the Court and thereby made binding on beneficial owners if it
   is accepted by the holders of at least two-thirds in dollar amount and more than one-half
   in number of Claims in each Class of those holders and two-thirds in amount of holders
   of Equity Interests who actually vote on the Plan. In the event the requisite acceptances
   are not obtained, the Court may nevertheless confirm the Plan if the Court finds that the
   Plan accords fair and equitable treatment to the Class or Classes rejecting it and otherwise
   satisfies the requirements of section 1129(b) of the Bankruptcy Code. To have your vote
   count, you must complete and return this Ballot to the Voting Agent (as defined below).

          This Ballot is to be used for voting by holders of First Lien Bank Claims. For
   your vote to be counted, this Ballot must be properly completed, signed, and returned in
   the envelope provided.

           THE DEADLINE FOR RECEIPT OF THIS BALLOT BY KURTZMAN
   CARSON CONSULTANTS LLC (THE “VOTING AGENT”) IS MAY 18, 2012 AT
   5:00 P. M., NEW YORK CITY TIME, (THE “VOTING DEADLINE”) UNLESS
   EXTENDED BY THE DEBTORS, WITH THE CONSENT OF THE REQUISITE
   PARTICIPATING LENDERS. FOR YOUR VOTE TO BE COUNTED, YOU
   MUST RETURN YOUR BALLOT SO THAT IT IS ACTUALLY RECEIVED BY
   THE VOTING AGENT ON OR BEFORE THE VOTING DEADLINE.




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       All capitalized terms used but not defined herein shall have the meaning assigned to them in the
       Disclosure Statement or the Plan, as applicable.


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                                       IMPORTANT

   You should review the Disclosure Statement and the Plan before you vote. You may
   wish to seek legal or other professional advice concerning the Plan, as well as the
   classification of your Claim. Your First Lien Bank Claim against the Debtors has
   been placed in Class 3 under the Plan.

   VOTING DEADLINE: 5:00 P.M., NEW YORK CITY TIME, ON MAY 18, 2012.

   If your vote is not received by the Voting Agent, Kurtzman Carson Consultants
   LLC, on or before the Voting Deadline and such deadline is not extended, your vote
   will not count. Ballots will not be accepted by facsimile or other means of electronic
   transmission.

   If the Plan is confirmed by the Court, it will be binding on you whether or not you
   vote.



                                     HOW TO VOTE:

   1.     COMPLETE ITEM 1 (if not already completed).

   2.     COMPLETE ITEM 2.

   3.     COMPLETE ITEM 3. IF YOU ELECT NOT TO GRANT THE RELEASES
          CONTAINED IN ARTICLE VIII.J. OF THE PLAN AND ELECT NOT TO
          CONSENT TO THE RELATED INJUNCTION. ELECTION TO
          WITHHOLD CONSENT IS AT YOUR OPTION. IF YOU SUBMIT YOUR
          BALLOT WITHOUT THE BOX IN ITEM 3 CHECKED, YOU WILL BE
          DEEMED TO CONSENT TO THE RELEASES SET FORTH IN ARTICLE
          VIII.J. OF THE PLAN AND THE RELATED INJUNCTION TO THE
          FULLEST EXTENT PERMITTED BY APPLICABLE LAW.

   4.     COMPLETE ITEM 4.

   5.     SIGN THE BALLOT.

   6.     RETURN THE ORIGINAL BALLOT IN THE ENCLOSED PRE-
          ADDRESSED POSTAGE-PAID ENVELOPE OR BY OTHER MEANS TO
          THE ADDRESS SET FORTH BELOW (SO THAT IT IS RECEIVED
          BEFORE THE VOTING DEADLINE).

   7.     YOU MUST VOTE THE FULL AMOUNT OF THE FIRST LIEN BANK
          CLAIM COVERED BY THIS BALLOT EITHER TO ACCEPT OR TO
          REJECT THE PLAN. YOU MAY NOT SPLIT YOUR VOTE.


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   8.     ANY EXECUTED BALLOT RECEIVED THAT (A) DOES NOT
          INDICATE EITHER AN ACCEPTANCE OR REJECTION OF THE PLAN,
          (B) THAT INDICATES BOTH AN ACCEPTANCE AND A REJECTION OF
          THE PLAN, OR (C) IS ILLEGIBLE, MUTILATED OR INCOMPLETE,
          WILL NOT BE COUNTED.


   ITEM 1. Amount of First Lien Bank Claim. The undersigned certifies that as of the
   Voting Record Date, the undersigned was a holder of a First Lien Bank Claim in the
   following aggregate unpaid principal amount (for purposes of this Ballot, you should not
   adjust your claim amount for any accrued or unmatured interest):

   $

   ITEM 2. Acceptance or Rejection of Plan. The undersigned holder of a First Lien Bank
   Claim in the amount identified in Item 1 above hereby elects to:

                                          ACCEPT the Plan.†

                                          REJECT the Plan.
   †
          Please note, effective upon the commencement of the Chapter 11 Cases,
   acceptance of the Plan by a First Lien Bank Lender will be deemed a direction to the First
   Lien Agents to forbear from exercising all rights and remedies with respect to defaults
   under the First Lien Credit Agreement, including, but not limited to, rights and remedies
   exercisable in respect of guarantees by non-Debtor affiliates and against collateral.

   ITEM 3. OPTIONAL – Opt-Out Election.

   Check this box if you elect not to grant the releases contained in Article VIII.J. of the
   Plan and elect not to consent to the related injunction provisions set forth in Article
   VIII.F. of the Plan. Election to withhold consent is at your option. If you submit your
   Ballot without this box checked, you will be deemed to consent to the releases set forth in
   Article VIII.J. of the Plan and the related injunction provisions set forth in Article VIII.F.
   of the Plan to the fullest extent permitted by applicable law. The Debtors intend to seek
   approval, at the Confirmation Hearing, of the releases and related injunction contained in
   Articles VIII.J. and VIII.F. of the Plan as to all parties set forth in Article VIII.I. of the
   Plan.

          □ The undersigned elects not to grant the releases contained in Article VIII.J. of
          the Plan and elects not to consent to the related injunction provisions set forth in
          Article VIII.F. of the Plan.

   ITEM 4. Acknowledgements and Certification.

   By signing this Ballot, the undersigned certifies and/or acknowledges that: (i) it is the
   holder of a First Lien Bank Claim to which this Ballot pertains or is an authorized

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   signatory and has full power and authority to vote to accept or reject the Plan; (ii) it has
   been provided with a copy of the Plan and the Disclosure Statement, and acknowledges
   that the votes set forth on this Ballot are subject to all of the terms and conditions set
   forth in the Plan and the Disclosure Statement; (iii) it is an accredited investor as defined
   in Regulation D of the Securities Act of 1933, as amended; (iv) it has not submitted any
   other Ballots relating to the First Lien Bank Claims voted herein that are inconsistent
   with the votes as set forth in this Ballot or if such other Ballots were previously
   submitted, they either have been or are hereby revoked or changed to reflect the votes set
   forth herein; and (v) either (a) this Ballot is the only Ballot submitted by the undersigned
   for the First Lien Bank Claims or (b) in addition to this Ballot, one or more Ballots
   for the First Lien Bank Claims have been submitted as follows (please use additional
   sheets of paper if necessary):



   Name of First Lien        Amount of First Lien       Accepted the Plan   Rejected the Plan

   Bank Lender               Bank Claim




   Name of Creditor:

   Social Security or Federal
   Tax I.D. No.:

   Signature:

   Print Name:

   Title:

   Street Address:

   City, State and Zip Code:

   Email Address:

   Telephone Number:

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   Date Completed:

   This Ballot shall not constitute or be deemed a proof of claim or an assertion of a claim.

   YOUR RECEIPT OF THIS BALLOT DOES NOT SIGNIFY THAT YOUR CLAIM
   HAS BEEN OR WILL BE ALLOWED.

   YOUR BALLOT MUST ACTUALLY BE RECEIVED BY THE VOTING AGENT,
   KURTZMAN CARSON CONSULTANTS LLC, AT THE FOLLOWING ADDRESS
   BY 5:00 P.M. (NEW YORK CITY TIME) ON MAY 18, 2012, OR YOUR VOTE
   WILL NOT BE COUNTED:

                     Houghton Mifflin Harcourt Ballot Processing Center
                            Kurtzman Carson Consultants LLC
                             599 Lexington Avenue, 39th Floor
                                    New York, NY 10022



   IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE
   PROCEDURES DESCRIBED HEREIN, OR IF YOU NEED A BALLOT OR
   ADDITIONAL COPIES OF THE DISCLOSURE STATEMENT AND PLAN OR
   OTHER ENCLOSED MATERIALS, PLEASE CALL THE VOTING AGENT,
   KURTZMAN CARSON CONSULTANTS LLC, AT (877) 833-4150.




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                BALLOT FOR ACCEPTING OR REJECTING THE
              PREPACKAGED JOINT PLAN OF REORGANIZATION
       OF THE DEBTORS UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

                    BALLOT FOR CLASS 3 SENIOR CREDITORS
                HOLDING 10.5% NOTES (THE “10.5% NOTES CLAIMS”)

           Houghton Mifflin Harcourt Publishing Company, a Massachusetts corporation
   and certain of its affiliates (collectively, the “Debtors”) are soliciting votes with respect to
   the Prepackaged Joint Plan of Reorganization of the Debtors Under Chapter 11 of the
   Bankruptcy Code (the “Plan”). The Plan is being submitted to you in conjunction with
   the related Disclosure Statement for the Prepackaged Joint Plan of Reorganization of the
   Debtors Under Chapter 11 of the Bankruptcy Code (the “Disclosure Statement”). The
   Disclosure Statement provides information to assist you in deciding how to vote your
   Ballot.

           This Ballot is being sent to beneficial owners of the 10.5% Notes Claims (a
   “Beneficial Holder” or “Holder”). The Plan can be confirmed by the Court and thereby
   made binding on beneficial owners if it is accepted by the holders of at least two-thirds in
   dollar amount and more than one-half in number of Claims1 in each Class of those
   holders and two-thirds in amount of holders of Equity Interests who actually vote on the
   Plan. In the event the requisite acceptances are not obtained, the Court may nevertheless
   confirm the Plan if the Court finds that the Plan accords fair and equitable treatment to
   the Class or Classes rejecting it and otherwise satisfies the requirements of section
   1129(b) of the Bankruptcy Code. To have your vote count, you must complete and return
   this Ballot.

          This Ballot is only to be used if you are, as of May 10, 2012 (the “Voting Record
   Date”), a Beneficial Holder. Please use this Ballot for voting your Class 3 10.5% Notes
   Claims to accept or reject the Plan.

   VOTING DEADLINE: 5:00 P.M., NEW YORK CITY TIME, ON JUNE 11, 2012.

   IN ORDER FOR YOUR VOTE TO COUNT, YOU MUST DELIVER YOUR
   BALLOT TO YOUR BROKER, BANK, DEALER, AGENT OR OTHER
   NOMINEE (EACH OF THE FOREGOING, A “NOMINEE”). PLEASE RETURN
   YOUR BALLOT TO YOUR NOMINEE WELL BEFORE THE VOTING
   DEADLINE IN ORDER TO ALLOW SUFFICIENT TIME TO PERMIT YOUR
   NOMINEE TO DELIVER A MASTER BALLOT INCLUDING YOUR VOTE TO
   THE DEBTORS’ VOTING AGENT, KURTZMAN CARSON CONSULTANTS,
   LLC (THE “VOTING AGENT”) BY THE VOTING DEADLINE ABOVE.




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       All capitalized terms used but not defined herein shall have the meaning assigned to them in the
       Disclosure Statement or the Plan, as applicable

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   PLEASE READ AND FOLLOW THE ENCLOSED VOTING INSTRUCTIONS
   CAREFULLY BEFORE COMPLETING THIS BALLOT.

   IF THE COURT CONFIRMS THE PLAN, IT WILL BIND YOU REGARDLESS
   OF WHETHER YOU HAVE VOTED.

   NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR
   ADVICE, OR TO MAKE ANY REPRESENTATION ON BEHALF OF THE
   DEBTORS, OTHER THAN WHAT IS INCLUDED IN THE MATERIALS
   MAILED WITH THIS BALLOT.

   YOU SHOULD REVIEW THE DISCLOSURE STATEMENT AND THE PLAN
   BEFORE YOU VOTE. YOU MAY WISH TO SEEK LEGAL OR OTHER
   PROFESSIONAL ADVICE CONCERNING THE PLAN, AS WELL AS THE
   CLASSIFICATION OF YOUR CLAIM. YOUR 10.5% NOTES CLAIM HAS
   BEEN PLACED IN CLASS 3 UNDER THE PLAN.




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   ITEM 1. AGGREGATE PRINCIPAL AMOUNT OF CLASS 3 10.5% NOTES
   CLAIMS. The undersigned certifies that as of the Voting Record Date, the undersigned
   was a Beneficial Holder in the following aggregate unpaid principal amount (for purposes
   of this Ballot, you should not adjust your claim amount for any accrued or unmatured
   interest): $ ______________________. If your 10.5% Notes are held by a Nominee on
   your behalf and you do not know the amount of 10.5% Notes held, please contact your
   Nominee.

   ITEM 2. Acceptance or Rejection of Plan. A Beneficial Holder in the amount
   identified in Item 1 above hereby elects to:

                                      □ ACCEPT the Plan. †

                                       □ REJECT the Plan.
   †
           Please note, effective upon the commencement of the Chapter 11 Cases,
   acceptance of the Plan by a Beneficial Holder shall constitute an agreement by such
   Beneficial Holder to forbear from exercising all rights and remedies with respect to
   defaults under the 10.5% Notes Indenture, including, but not limited to, rights and
   remedies exercisable in respect of guarantees by non-Debtor affiliates and against
   collateral.

   ITEM 3. OPTIONAL – Opt-Out Election.

   Check this box if you elect not to grant the releases contained in Article VIII.J. of the
   Plan and elect not to consent to the related injunction provisions set forth in Article
   VIII.F. of the Plan. Election to withhold consent is at your option. If you submit your
   Ballot without this box checked, you will be deemed to consent to the releases set forth in
   Article VIII.J. of the Plan and the related injunction provisions set forth in Article VIII.F.
   of the Plan to the fullest extent permitted by applicable law. The Debtors intend to seek
   approval, at the Confirmation Hearing, of the releases and related injunction contained in
   Articles VIII.J. and VIII.F. of the Plan as to all parties set forth in Article VIII.I. of the
   Plan.

          □ The undersigned elects not to grant the releases contained in Article VIII.J. of
          the Plan and elects not to consent to the related injunction provisions set forth in
          Article VIII.F. of the Plan.

   ITEM 4. Acknowledgements and Certification.

   By signing this Ballot, the Beneficial Holder identified in Item 1 certifies and/or
   acknowledges that: (i) it is the Beneficial Holder to which this Ballot pertains or is an
   authorized signatory and has full power and authority to vote to accept or reject the Plan;
   (ii) it has been provided with a copy of the Plan and the Disclosure Statement, and
   acknowledges that the votes set forth on this Ballot are subject to all of the terms and
   conditions set forth in the Plan and the Disclosure Statement; (iii) it is an accredited
   investor as defined in Regulation D of the Securities Act of 1933, as amended; (iv) it has
   not submitted any other Ballots relating to the 10.5% Notes Claims voted herein that are
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   inconsistent with the votes as set forth in this Ballot or if such other Ballots were
   previously submitted, they either have been or are hereby revoked or changed to reflect
   the votes set forth herein; (iv) it is deemed to have consented to the submission of a
   Master Ballot to the Voting Agent (if applicable); and (v) either (a) this Ballot is the only
   Ballot submitted by the undersigned for 10.5% Notes Claims or (b) in addition to this
   Ballot, one or more Ballots for 10.5% Notes Claims have been submitted as follows
   (please use additional sheets of paper if necessary):

   Account Number of       Name of Registered      CUSIP Number of         Principal Amount of
   Other 10.5% Notes       Holder or Voting        Other 10.5% Notes       Other 10.5% Notes
   Claims                  Nominee of Other        Claims                  Claims Voted in
                           10.5% Notes Claims                              Other Ballots




   Name of Claim Holder:

   Social Security or Federal Tax I.D. No.:

   Signature:                                            ______________________________

   Print Name:

   Title:

   Relationship to Holder:                               ______________________________

   Street Address:

   City, State and Zip Code:                             ______________________________

   Email Address:

   Telephone Number:                                     ______________________________

   Date Completed:

   This Ballot shall not constitute or be deemed a proof of claim or an assertion of a claim.

   THE VOTING DEADLINE IS 5:00 P.M. NEW YORK CITY TIME ON JUNE 11,
   2012, UNLESS SUCH TIME IS EXTENDED BY THE DEBTORS WITH THE
   CONSENT OF THE REQUISITE PARTICIPATING LENDERS. PLEASE
   RETURN YOUR COMPLETED BALLOT TO YOUR NOMINEE IN ORDER TO
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   ALLOW SUFFICIENT TIME TO PERMIT YOUR NOMINEE TO DELIVER A
   MASTER BALLOT INCLUDING YOUR VOTE TO THE VOTING AGENT BY
   THE VOTING DEADLINE.

   IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE
   INSTRUCTIONS DESCRIBED BELOW, OR IF YOU NEED A BALLOT OR
   ADDITIONAL COPIES OF THE DISCLOSURE STATEMENT AND PLAN OR
   OTHER ENCLOSED MATERIALS, PLEASE CALL THE VOTING AGENT,
   KURTZMAN CARSON CONSULTANTS, LLC, AT (877) 833-4150.


   1.    COMPLETE ITEM 1 (if not already completed).

   2.    COMPLETE ITEM 2.

   3.    COMPLETE ITEM 3 IF YOU ELECT NOT TO GRANT THE RELEASES
         CONTAINED IN ARTICLE VIII.J. OF THE PLAN AND ELECT NOT TO
         CONSENT TO THE RELATED INJUNCTION. ELECTION TO
         WITHHOLD CONSENT IS AT YOUR OPTION. IF YOU SUBMIT YOUR
         BALLOT WITHOUT THE BOX IN ITEM 3 CHECKED, YOU WILL BE
         DEEMED TO CONSENT TO THE RELEASES SET FORTH IN ARTICLE
         VIII.J. OF THE PLAN AND THE RELATED INJUNCTION TO THE
         FULLEST EXTENT PERMITTED BY APPLICABLE LAW.

   4.    COMPLETE ITEM 4.

   5.    SIGN THE BALLOT.

   6.    RETURN THE ORIGINAL BALLOT IN THE ENCLOSED PRE-
         ADDRESSED ENVELOPE OR BY OTHER MEANS TO THE ADDRESS
         LISTED ON THE ENVELOPE (SO THAT IT IS RECEIVED BY THE
         NOMINEE WELL BEFORE THE VOTING DEADLINE).

   7.    YOU MUST SUBMIT YOUR BALLOT TO THE NOMINEE BY MAIL OR
         OTHER METHOD ACCEPTABLE TO THE NOMINEE. YOU MUST
         ALSO ALLOW ENOUGH TIME FOR YOUR NOMINEE TO CAST YOUR
         VOTE ON A MASTER BALLOT SO THAT IT IS ACTUALLY
         RECEIVED BY THE VOTING AGENT ON OR BEFORE THE VOTING
         DEADLINE. YOU MUST SUBMIT YOUR BALLOT TO THE NOMINEE.
         YOU MAY NOT SUBMIT YOUR BALLOT DIRECTLY TO VOTING
         AGENT. ANY BALLOT SUBMITTED DIRECTLY TO THE VOTING
         AGENT WILL NOT BE COUNTED.

   8.    YOU MUST VOTE THE FULL AMOUNT OF YOUR CLASS 3 10.5%
         NOTES CLAIM. YOU MAY NOT SPLIT YOUR VOTE.
         ACCORDINGLY, A BALLOT THAT PARTIALLY REJECTS AND
         PARTIALLY ACCEPTS THE PLAN WILL NOT BE COUNTED.

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   9.     IF YOU HOLD CLASS 3 10.5% NOTES CLAIMS IN MULTIPLE CUSIPS
          YOU MAY RECEIVE MORE THAN ONE BALLOT. EACH BALLOT
          WILL BE CODED FOR A DIFFERENT CUSIP. EACH BALLOT VOTES
          ONLY YOUR CLAIMS INDICATED ON THAT BALLOT, SO PLEASE
          COMPLETE AND RETURN EACH BALLOT THAT YOU RECEIVE.

   10.    ANY BALLOT RECEIVED BY THE VOTING AGENT THAT: (A) DOES
          NOT INDICATE EITHER AN ACCEPTANCE OR REJECTION OF THE
          PLAN, (B) INDICATES BOTH AN ACCEPTANCE AND A REJECTION
          OF THE PLAN, (C) IS ILLEGIBLE, MUTILATED OR INCOMPLETE,
          (D) IS CAST BY A PERSON OR ENTITY THAT DOES NOT HOLD A
          CLAIM IN A CLASS THAT IS ENTITLED TO VOTE ON THE PLAN, (E)
          IS CAST BY A PERSON OR ENTITY THAT IS NOT ENTITLED TO
          VOTE, OR (F) IS NOT SIGNED, WILL NOT BE COUNTED.

    11.   IF A BALLOT IS RECEIVED BY THE VOTING AGENT AFTER THE
          VOTING DEADLINE, IT WILL NOT BE COUNTED UNLESS THE
          DEBTORS, WITH THE CONSENT OF THE REQUISITE
          PARTICIPATING LENDERS, DECIDE TO EXTEND THE VOTING
          DEADLINE. IN ALL CASES, HOLDERS SHOULD ALLOW
          SUFFICIENT TIME TO ASSURE TIMELY DELIVERY. NO BALLOT
          SHOULD BE SENT TO THE DEBTORS OR THE DEBTORS’
          FINANCIAL ADVISOR.

    12.   IF MULTIPLE BALLOTS ARE RECEIVED FROM AN INDIVIDUAL
          HOLDER WITH RESPECT TO THE SAME 10.5% NOTES CLAIM
          PRIOR TO THE VOTING DEADLINE, THE LAST BALLOT TIMELY
          RECEIVED WILL SUPERSEDE AND REVOKE ANY PREVIOUSLY
          RECEIVED BALLOT.

    13.   THE BALLOT IS NOT A LETTER OF TRANSMITTAL AND MAY NOT
          BE USED FOR ANY PURPOSE OTHER THAN TO VOTE TO ACCEPT
          OR REJECT THE PLAN, TO OPT-OUT OF THE RELEASES SET
          FORTH IN ARTICLE VIII.J. OF THE PLAN AND TO MAKE CERTAIN
          CERTIFICATIONS WITH RESPECT THERETO. ACCORDINGLY, AT
          THIS TIME, CREDITORS SHOULD NOT SURRENDER CERTIFICATES
          EVIDENCING THEIR CLAIMS, AND THE DEBTORS WILL NOT
          ACCEPT DELIVERY OF ANY SUCH CERTIFICATES OR
          INSTRUMENTS SURRENDERED TOGETHER WITH A BALLOT.

    14.   PLEASE BE SURE TO SIGN AND DATE YOUR BALLOT. IF YOU ARE
          COMPLETING THE BALLOT ON BEHALF OF AN ENTITY, INDICATE
          YOUR RELATIONSHIP WITH THAT ENTITY AND THE CAPACITY IN
          WHICH YOU ARE SIGNING.




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             MASTER BALLOT FOR ACCEPTING OR REJECTING THE
            PREPACKAGED JOINT PLAN OF REORGANIZATION OF THE
            DEBTORS UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

                 MASTER BALLOT FOR CLASS 3 SENIOR CREDITORS
                HOLDING 10.5% NOTES (THE “10.5% NOTES CLAIMS”)

          Houghton Mifflin Harcourt Publishing Company, a Massachusetts corporation
   and certain of its affiliates (collectively, the “Debtors”) are soliciting votes with respect to
   the Prepackaged Joint Plan of Reorganization of the Debtors Under Chapter 11 of the
   Bankruptcy Code (the “Plan”) in conjunction with the related Disclosure Statement for
   the Prepackaged Joint Plan of Reorganization of the Debtors Under Chapter 11 of the
   Bankruptcy Code (the “Disclosure Statement”).

           This Master Ballot1 is being sent to you as a broker, dealer, bank, trust company
   or other nominee (or as their proxy holder or agent) (each, a “Nominee”) to solicit votes
   of beneficial holders (each, a “Beneficial Holder” or “Holder”) of the 10.5% Notes
   Claims to accept or reject the Plan. Please take any action that is required to enable each
   Beneficial Holder to timely vote its 10.5% Notes Claims. As used herein, the term
   “Ballot” refers to any ballot executed by a Beneficial Holder.

   VOTING DEADLINE: 5:00 P.M., NEW YORK CITY TIME, ON JUNE 11, 2012,
   UNLESS EXTENDED BY THE DEBTORS WITH THE CONSENT OF THE
   REQUISITE PARTICIPATING LENDERS.

          If this Master Ballot is not received by the Debtors’ Voting Agent, Kurtzman
   Carson Consultants, LLC (the “Voting Agent”), on or before the Voting Deadline,
   any votes transmitted under this Master Ballot will not be counted. Therefore, you
   must allow sufficient time to be sure that the Master Ballot is received by the Voting
   Agent before the Voting Deadline. Master Ballots will not be accepted by facsimile
   or other means of electronic transmission.

          Nothing contained herein or in the enclosed documents shall render you or
   any other person an agent of the Debtors or the Voting Agent, or authorize you or
   any other person to use any document or make any statements on behalf of any of
   them with respect to the Plan.

           You should review the Disclosure Statement and the Plan before you
   transmit votes. You or the Beneficial Holder(s) whose vote(s) you are transmitting
   may wish to seek legal or other professional advice concerning the Plan and the
   classification of 10.5% Notes Claims under the Plan. All 10.5% Notes Claims
   against the Debtors (CUSIP # [            ]) have been placed in Class 3 under the
   Plan.

   1
       All capitalized terms used but not defined herein shall have the meaning assigned to them in the
         Disclosure Statement or the Plan, as applicable.

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          Votes from Beneficial Holders to accept or reject the Plan will be returned to
   you on Ballots. For each completed, executed Ballot returned to you by a Beneficial
   Holder, you must retain a copy of such Ballot in your files for at least one (1) year
   from the Voting Deadline.

           Prior to completing this Master Ballot, please refer to the instructions
   attached to this Master Ballot for further explanation on how to complete the items
   set forth below.




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   ITEM 1. Certification of Authority to Vote. The undersigned certifies that as of the
   Voting Record Date, the undersigned (please check the appropriate box):

                    Is a broker, dealer, commercial bank, trust company or other nominee for
                    the Beneficial Holders of the aggregate principal amount of 10.5% Notes
                    listed in Item 2 below, and is the registered holder of such securities; or

                    Is acting under a power of attorney and/or agency (a copy of which will be
                    provided upon request) granted by a broker, dealer, commercial bank, trust
                    company or other nominee that is the registered holder of the aggregate
                    principal amount of 10.5% Notes listed in Item 2 below; or

                    Has been granted a proxy (an original of which is attached hereto) from a
                    broker, dealer, commercial bank, trust company or other nominee, or the
                    beneficial owner, that is the registered holder of the aggregate principal
                    amount of 10.5% Notes listed in Item 2 below, and accordingly, has full
                    power and authority to vote to accept or reject the Plan on behalf of the
                    Beneficial Holders described in Item 2 below.

   ITEM 2. Vote on the Plan. The undersigned certifies that the following Beneficial
   Holders, as identified by their respective customer account numbers set forth below, were
   Beneficial Holders on the Voting Record Date and have delivered to the undersigned, as
   Nominee, properly executed Ballots. Indicate in the appropriate column the aggregate
   principal amount voted for each account, or attach such information to this Master Ballot
   in the form of the following table. Please note that each Beneficial Holder must vote all
   of its 10.5% Notes Claims to accept or reject the Plan and may not split such vote.

          Customer Account         Principal Amount of the 10.5% Notes Check this box
          Number for Each              Claims Voted to ACCEPT or        if Beneficial
          Beneficial Holder         REJECT the Plan in Item 2 of the       Holder
                                                 Ballot                 checked the
                                                                       box in Item 3
                                                                        of the Ballot

                                        ACCEPT                REJECT

     1.                           $                       $

     2.                           $                       $

     3.                           $                       $

     4.                           $                       $

     5.                           $                       $

     6.                           $                       $

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     7.                          $                      $

     8.                          $                      $

     9.                          $                      $

     10.                         $                      $

     TOTALS:                     $                      $



   ITEM 3. Certification as to Transcription of Information from Item 4 as to 10.5%
   Notes Claims Voted Through Other 10.5% Note Claims Ballots. The undersigned
   certifies that the undersigned has transcribed in the following table the information, if
   any, provided by Beneficial Holders in Item 4 of the Beneficial Holder’s Ballot,
   identifying any 10.5% Notes Claims for which such Beneficial Holders have submitted
   other 10.5% Notes Claims Ballots other than to the undersigned.

      YOUR Customer                               Transcribe From Item 4 of
    Account Number for                   the 10.5% Notes Claim Beneficial Holder Ballot
   Each Beneficial Owner
   Which Completed Item 4            Account          Name of           CUSIP           Principal
     of the 10.5% Notes              Number           Nominee         Number of         Amount of
   Claim Beneficial Holder                                           10.5% Notes       Other 10.5%
            Ballot                                                      Claims         Notes Claims
                                                                                          Voted




   ITEM 4. Certification. By signing this Master Ballot, the undersigned certifies that (a)
   each Beneficial Holder listed in Item 2, above, has been provided with the a copy of the
   Plan and Disclosure Statement; (b) it is the registered holder of the 10.5% Notes to which
   this Master Ballot pertains and/or has the full power and authority to vote to accept or
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   reject the Plan; and (c) it accurately transcribed all applicable information from the Class
   3 Ballots received from each Beneficial Owner. The undersigned also acknowledges that
   the solicitation of this vote to accept or reject the Plan is subject to all the terms and
   conditions set forth in the Plan and Disclosure Statement.

   Name of Nominee:

   Participant Number:

   Name of Proxy Holder or Agent For Nominee:

   Signature:                                            ______________________________

   Print Name:

   Title:

   Street Address:

   City, State and Zip Code:                             ______________________________

   Email Address:

   Telephone Number:                                     ______________________________

   Date Completed:




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   THIS MASTER BALLOT MUST ACTUALLY BE RECEIVED BY THE VOTING
   AGENT, KURTZMAN CARSON CONSULTANTS LLC, AT THE FOLLOWING
   ADDRESS BY 5:00 P.M., NEW YORK CITY TIME, ON JUNE 11, 2012, OR
   YOUR CUSTOMERS’ VOTES WILL NOT BE COUNTED:

            HOUGHTON MIFFLIN HARCOURT BALLOT PROCESSING
               C/O KURTZMAN CARSON CONSULTANTS, LLC
                  599 LEXINGTON AVENUE, 39TH FLOOR
                           NEW YORK, NY 10022
                         TOLL FREE (877) 833-4150
                       ITN'L CALLERS (917) 281-4800

    MASTER BALLOTS RECEIVED BY FACSIMILE OR OTHER ELECTRONIC
                   MEANS WILL NOT BE COUNTED

   IF YOU HAVE ANY QUESTIONS REGARDING THIS MASTER BALLOT OR
   THE PROCEDURES DESCRIBED HEREIN, OR IF YOU NEED A BALLOT OR
   ADDITIONAL COPIES OF THE PLAN AND THE DISCLOSURE STATEMENT
   OR OTHER ENCLOSED MATERIALS, PLEASE CALL THE VOTING AGENT,
   KURTZMAN CARSON CONSULTANTS LLC, AT (877) 833-4150.




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            INSTRUCTIONS FOR COMPLETING THE MASTER BALLOT

           The Debtors are soliciting your customers’ votes on the Plan attached to the
   Disclosure Statement. The Master Ballot is to be used by brokers, dealers, banks, trust
   companies or other nominee (or as their proxy holders or agents) of Beneficial Holders of
   the 10.5% Notes Claims. The Master Ballot must summarize votes cast by Beneficial
   Holders to accept or reject the Plan pursuant to the Ballots. The Master Ballot does not
   constitute and shall not be deemed to constitute (a) a proof of claim or (b) an
   admission by the Debtors of the nature, validity, or amount of any claim.

           You must deliver (i) a Ballot, (ii) a pre-addressed return envelope addressed to
   you, (iii) the Plan, (iv) the Disclosure Statement, (v) the Plan solicitation cover letter and
   (vi) any other relevant materials, to each Beneficial Holder for whom you hold 10.5%
   Notes, and take any action required to enable each such Beneficial Holder to timely vote
   its 10.5% Notes Claim to accept or reject the Plan. With regard to any Ballots returned to
   you, you must (1) execute the Master Ballot so as to reflect the votes given to you in the
   Ballots by the Beneficial Holders for whom you hold 10.5% Notes and (2) forward such
   Master Ballots to the Voting Agent before the Voting Deadline.

           Multiple Master Ballots may be completed and delivered to the Voting Agent.
   Votes reflected by multiple Master Ballots will be counted except to the extent that the
   votes thereon are duplicative of other Master Ballots. If two or more Master Ballots are
   inconsistent, the latest Master Ballots received prior to the Voting Deadline will, to the
   extent of such inconsistency, supersede and revoke any prior Master Ballot. If more than
   one Master Ballot is submitted and the later Master Ballot(s) supplements rather than
   supersedes earlier Master Ballot(s), please mark the subsequent Master Ballot(s) with the
   words “Additional Vote” or such other language as you customarily use to indicate an
   additional vote that is not meant to revoke an earlier vote.

          To have the votes of your customers count, you must complete, sign and
   return this Master Ballot so that it is ACTUALLY RECEIVED by the Voting
   Agent, Kurtzman Carson Consultants LLC, by 5:00 P.M., New York City Time, on
   June 11, 2012. Unsigned Master Ballots will not be counted.

          To complete the Master Ballot properly, take the following steps:

          (a)        Check the appropriate box in Item 1 on the Master Ballot;

          (b)        To transmit the votes of Beneficial Holders of 10.5% Notes Claims,
                     indicate the votes to accept or reject the Plan in Item 2 of the Master
                     Ballot. Also indicate whether the Beneficial Holder opted-out of the
                     releases contained in Article VIII.J. of the Plan by checking Item 2 of the
                     Master Ballot. To identify such Beneficial Holders without disclosing
                     their names, please use the customer account number assigned by you to
                     each such Beneficial Holder, or if no such customer account number
                     exists, please assign a number to each account (making sure to retain a
                     separate list of each beneficial owner and the assigned number).

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                    IMPORTANT: EACH BENEFICIAL HOLDER MUST VOTE ALL
                    OF ITS 10.5% NOTES CLAIM EITHER TO ACCEPT OR REJECT
                    THE PLAN, AND MAY NOT SPLIT ITS VOTE. IF ANY
                    BENEFICIAL HOLDER HAS ATTEMPTED TO SPLIT SUCH
                    VOTE, PLEASE CONTACT THE VOTING AGENT
                    IMMEDIATELY. Any Ballot or Master Ballot that is signed, dated and
                    timely received, but does not indicate acceptance or rejection of the Plan
                    will not be counted for purposes of voting on the Plan;

         (d)        Please note that Item 3 of the Master Ballot requests that you transcribe
                    the information provided by each Beneficial Holder in Item 4 of the
                    Beneficial Holder Ballot relating to other 10.5% Notes Claims voted;

         (e)        Review the certification in Item 4 of the Master Ballot;

         (f)        Sign and date the Master Ballot and provide the remaining information
                    requested;

         (g)        If additional space is required to respond to any item on the Master Ballot,
                    please use additional sheets of paper clearly marked to indicate the
                    applicable Item on the Master Ballot to which you are responding;

         (h)        Contact the Voting Agent if you need any additional information; and

         (i)        Deliver the completed, executed Master Ballot so as to be received by the
                    Voting Agent before the Voting Deadline. For each completed, executed
                    Ballot returned to you by a Beneficial Holder, either forward such Ballot
                    (along with your Master Ballot) to the Voting Agent or retain such Ballot
                    in your files for one year from the Voting Deadline.

   IF YOU HAVE ANY QUESTIONS REGARDING THE MASTER BALLOT
   OR THE INSTRUCTIONS ABOVE, PLEASE CALL THE VOTING AGENT,
   KURTZMAN CARSON CONSULTANTS, LLC AT (877) 833-4150.




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             REGISTERED HOLDER BALLOT FOR ACCEPTING OR
       REJECTING THE PREPACKAGED JOINT PLAN OF REORGANIZATION
       OF THE DEBTORS UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

                       BALLOT FOR EXISTING COMMON STOCK HELD BY
                         CLASS 8 EXISTING COMMON STOCKHOLDERS

           Houghton Mifflin Harcourt Publishing Company and certain of their affiliates
   (collectively, the “Debtors”) are soliciting votes with respect to the Prepackaged Joint
   Plan of Reorganization of the Debtors Under Chapter 11 of the Bankruptcy Code (the
   “Plan”). The Plan is attached as Appendix A to the Disclosure Statement for the
   Prepackaged Joint Plan of Reorganization of the Debtors Under Chapter 11 of the
   Bankruptcy Code (the “Disclosure Statement”). If you are, as of May 10, 2012 (the
   “Voting Record Date”), an Existing Common Stockholder1 holding Existing Common
   Stock in Class 8, please use this Ballot to cast your vote to accept or reject the Plan.

           This Ballot is being sent to beneficial owners of the Existing Common Stock. The
   Plan can be confirmed by the Court and thereby made binding on beneficial owners if it
   is accepted by the holders of at least two-thirds in dollar amount and more than one-half
   in number of Claims in each Class of those holders and two-thirds in amount of holders
   of Equity Interests who actually vote on the Plan. In the event the requisite acceptances
   are not obtained, the Court may nevertheless confirm the Plan if the Court finds that the
   Plan accords fair and equitable treatment to the Class or Classes rejecting it and otherwise
   satisfies the requirements of section 1129(b) of the Bankruptcy Code. To have your vote
   count, you must complete and return this Ballot.

          This Ballot is to be used for voting by holders of Existing Common Stock. For
   your vote to be counted, this Ballot must be properly completed, signed, and returned in
   the envelope provided.

          THE DEADLINE FOR RECEIPT OF THIS BALLOT BY KURTZMAN
   CARSON CONSULTANTS LLC (THE “VOTING AGENT”) IS JUNE 11, 2012 AT
   5:00 P.M., NEW YORK CITY TIME, (THE “VOTING DEADLINE”) UNLESS
   EXTENDED BY THE DEBTORS, WITH THE CONSENT OF THE REQUISITE
   PARTICIPATING LENDERS. FOR YOUR VOTE TO BE COUNTED, YOU
   MUST RETURN YOUR BALLOT SO THAT IT IS ACTUALLY RECEIVED BY
   THE VOTING AGENT ON OR BEFORE THE VOTING DEADLINE.




   1
        All capitalized terms used but not defined herein shall have the meaning assigned to them in the
        Disclosure Statement or the Plan, as applicable.


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                                          IMPORTANT

   You should review the Disclosure Statement and the Plan before you vote. You may
   wish to seek legal or other professional advice concerning the Plan, as well as the
   classification of your Equity Interest. Your Existing Common Stock in HMH
   Holdings has been placed in Class 8 under the Plan.

   VOTING DEADLINE: 5:00 P.M., NEW YORK CITY TIME, ON JUNE 11, 2012.

   If your vote is not received by the Voting Agent, Kurtzman Carson Consultants
   LLC, on or before the Voting Deadline and such deadline is not extended, your vote
   will not count. Ballots will not be accepted by facsimile or other means of electronic
   transmission.

   If the Plan is confirmed by the Court, it will be binding on you whether or not you
   vote.



                                         HOW TO VOTE:

   9.        COMPLETE ITEM 1 (if not already completed).

   10.       COMPLETE ITEM 2.

   11.       COMPLETE ITEM 3. IF YOU ELECT NOT TO GRANT THE RELEASES
             CONTAINED IN ARTICLE VIII.J. OF THE PLAN AND ELECT NOT TO
             CONSENT TO THE RELATED INJUNCTION. ELECTION TO
             WITHHOLD CONSENT IS AT YOUR OPTION. IF YOU SUBMIT YOUR
             BALLOT WITHOUT THE BOX IN ITEM 3 CHECKED, YOU WILL BE
             DEEMED TO CONSENT TO THE RELEASES SET FORTH IN ARTICLE
             VIII.J. OF THE PLAN AND THE RELATED INJUNCTION TO THE
             FULLEST EXTENT PERMITTED BY APPLICABLE LAW.

   12.       COMPLETE ITEM 4.

   13.       SIGN THE BALLOT.

   14.       RETURN THE ORIGINAL BALLOT IN THE ENCLOSED PRE-
             ADDRESSED POSTAGE-PAID ENVELOPE OR BY OTHER MEANS TO
             THE ADDRESS SET FORTH BELOW (SO THAT IT IS RECEIVED
             BEFORE THE VOTING DEADLINE).

   15.       YOU MUST VOTE THE FULL AMOUNT OF THE EXISTING COMMON
             STOCK COVERED BY THIS BALLOT EITHER TO ACCEPT OR TO
             REJECT THE PLAN. YOU MAY NOT SPLIT YOUR VOTE.


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   16.       ANY EXECUTED BALLOT RECEIVED THAT (A) DOES NOT
             INDICATE EITHER AN ACCEPTANCE OR REJECTION OF THE PLAN,
             (B) THAT INDICATES BOTH AN ACCEPTANCE AND A REJECTION OF
             THE PLAN, OR (C) IS ILLEGIBLE, MUTILATED OR INCOMPLETE,
             WILL NOT BE COUNTED.


   ITEM 1. Amount of Class 8 Existing Common Stock. The undersigned certifies that as
   of the Voting Record Date, the undersigned was a holder of Existing Common Stock in
   the following amount:


                                    ___________________ shares

   ITEM 2. Acceptance or Rejection of Plan. The undersigned holder of Existing
   Common Stock in the amount identified in Item 1 above hereby elects to:

                                            ACCEPT the Plan.

                                            REJECT the Plan. †
   †
           Please be advised that if Class 8 REJECTS the Plan, you WILL NOT be
   entitled to a distribution under the Plan.

   ITEM 3. OPTIONAL – Opt-Out Election.

   Check this box if you elect not to grant the releases contained in Article VIII.J. of the
   Plan and elect not to consent to the related injunction provisions set forth in Article
   VIII.F. of the Plan. Election to withhold consent is at your option. If you submit your
   Ballot without this box checked, you will be deemed to consent to the releases set forth in
   Article VIII.J. of the Plan and the related injunction provisions set forth in Article VIII.F.
   of the Plan to the fullest extent permitted by applicable law. The Debtors intend to seek
   approval, at the Confirmation Hearing, of the releases and related injunction contained in
   Articles VIII.J. and VIII.F. of the Plan as to all parties set forth in Article VIII.I. of the
   Plan.

             □ The undersigned elects not to grant the releases contained in Article VIII.J. of
             the Plan and elects not to consent to the related injunction provisions set forth in
             Article VIII.F. of the Plan.

   ITEM 4. Acknowledgements and Certification.

   By signing this Ballot, the undersigned certifies and/or acknowledges that: (i) it is the
   Existing Common Stockholder to which this Ballot pertains or is an authorized signatory
   and has full power and authority to vote to accept or reject the Plan; (ii) it has been
   provided with a copy of the Plan and the Disclosure Statement, and acknowledges that
   the votes set forth on this Ballot are subject to all of the terms and conditions set forth in
   the Plan and the Disclosure Statement; (iii) it is an accredited investor as defined in
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   Regulation D of the Securities Act of 1933, as amended; (iv) it has not submitted any
   other Ballots relating to the Existing Common Stock voted herein that are inconsistent
   with the votes as set forth in this Ballot or if such other Ballots were previously
   submitted, they either have been or are hereby revoked or changed to reflect the votes set
   forth herein; and (v) either (a) this Ballot is the only Ballot submitted by the undersigned
   for the Existing Common Stock or (b) in addition to this Ballot, one or more Ballots
   for the Existing Common Stock have been submitted as follows (please use additional
   sheets of paper if necessary):

   Name of Existing             Amount of Existing       Accepted the Plan   Rejected the Plan

   Common Stockholder           Common Stocks




   Name of Common Stockholder:

   Social Security or Federal
   Tax I.D. No.:

   Signature:

   Print Name:

   Title:

   Street Address:

   City, State and Zip Code:

   Email Address:

   Telephone Number:

   Date Completed:

   This Ballot shall not constitute or be deemed a proof of interest or an assertion of an
   interest.



                                                     4
   CODE [          ]                                                                 CUSIP [      ]
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   YOUR RECEIPT OF THIS BALLOT DOES NOT SIGNIFY THAT YOUR EQUITY
   INTEREST HAS BEEN OR WILL BE ALLOWED.

   YOUR BALLOT MUST ACTUALLY BE RECEIVED BY THE VOTING AGENT,
   KURTZMAN CARSON CONSULTANTS LLC, AT THE FOLLOWING ADDRESS
   BY 5:00 P.M. (NEW YORK CITY TIME) ON JUNE 11, 2012, OR YOUR VOTE
   WILL NOT BE COUNTED:

                         Houghton Mifflin Harcourt Ballot Processing Center
                                Kurtzman Carson Consultants LLC
                                 599 Lexington Avenue, 39th Floor
                                        New York, NY 10022



   IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE
   PROCEDURES DESCRIBED HEREIN, OR IF YOU NEED A BALLOT OR
   ADDITIONAL COPIES OF THE DISCLOSURE STATEMENT AND PLAN OR
   OTHER ENCLOSED MATERIALS, PLEASE CALL THE VOTING AGENT,
   KURTZMAN CARSON CONSULTANTS LLC, AT (877) 833-4150.




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                                   EXHIBIT C

                                     NOTICE
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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

   -------------------------------------- x
   In re:                                                               :
                                                                        : Chapter 11
   HOUGHTON MIFFLIN                                                     :
   HARCOURT PUBLISHING COMPANY, et al.,                                 : Case No. 12-____ (___)
                                                                        :
                                                 Debtors.               : (Joint Administration Pending)
   -------------------------------------- x

        SUMMARY OF PREPACKAGED JOINT PLAN OF REORGANIZATION
       AND NOTICE OF HEARING TO CONSIDER (I) DEBTORS’ COMPLIANCE
        WITH DISCLOSURE REQUIREMENTS AND (II) CONFIRMATION OF
              PREPACKAGED JOINT PLAN OF REORGANIZATION

                            NOTICE IS HEREBY GIVEN AS FOLLOWS:

            1. On May 21, 2012 (the “Petition Date”), Houghton Mifflin Harcourt Publishing
   Company, Houghton Mifflin Harcourt Publishers Inc., HMH Publishers, LLC, Houghton
   Mifflin Holding Company, Inc., Houghton Mifflin, LLC, Houghton Mifflin Finance, Inc.,
   Houghton Mifflin Holdings, Inc., HM Publishing Corp., Riverdeep Inc., a Limited
   Liability Company, Broderbund LLC, RVDP, Inc., HRW Distributors, Inc., Greenwood
   Publishing Group, Inc., Classroom Connect, Inc., ACHIEVE! Data Solutions, LLC,
   Steck-Vaughn Publishing LLC, HMH Supplemental Publishers Inc., HMH Holdings
   (Delaware), Inc., Sentry Realty Corporation, Houghton Mifflin Company International,
   Inc., The Riverside Publishing Company, Classwell Learning Group Inc., Cognitive
   Concepts, Inc., Edusoft, Advanced Learning Centers, Inc. and HM Receivables Co. II,
   LLC (each a “Debtor,” and collectively, the “Debtors”), filed with the United States
   Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”) a
   proposed prepackaged plan of reorganization (the “Prepackaged Plan”) and a proposed
   disclosure statement (the “Disclosure Statement”) pursuant to §§ 1125 and 1126(b) of
   title 11 of the United States Code (the “Bankruptcy Code”). Copies of the Prepackaged
   Plan and the Disclosure Statement may be obtained free of charge by contacting the
   Debtors’ Voting Agent,1 Kurtzman Carson Consultants LLC (“KCC”) at (877) 833-4150
   and are on file with the Clerk of the Bankruptcy Court, One Bowling Green, New York,
   NY 10004-1408, where they are available for review between the hours of 9:00 a.m. and
   5:00 p.m. prevailing Eastern Time. The Prepackaged Plan and the Disclosure Statement
   also are available for inspection on the Bankruptcy Court’s internet site at
   www.nysb.uscourts.gov (password is required) and free of charge on KCC’s internet site
   at http://www.kccllc.net/hmhco.

   1
            Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the
            Prepackaged Plan.
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                      Summary of Prepackaged Plan of Reorganization

           2. Under the Prepackaged Plan, the Debtors will restructure their outstanding
   indebtedness in a manner designed to maximize recoveries to holders of claims against,
   and equity interests in, the Debtors. Prior to the Petition Date, the Debtors solicited votes
   from the Senior Creditors and the Existing Common Stockholders (which are the only
   parties entitled to vote on the Prepackaged Plan and whose members overwhelmingly
   voted in favor of the Prepackaged Plan). In particular, the Prepackaged Plan
   contemplates that (i) Senior Creditors shall receive their pro rata share of (a) 100% of
   New Common Stock, subject to dilution for (x) New Common Stock to be issued
   pursuant to the Management Incentive Plan and (y) to the extent applicable, New
   Common Stock to be issued upon exercise of the New Warrants, and (b) $30.3 million in
   Cash; (ii) except to the extent that a holder of an Allowed Letter of Credit Facility Claim
   and the Debtors with the consent of the Requisite Participating Lenders agree to a
   different treatment, the outstanding letters of credit issued under the Letter of Credit
   Facility shall either continue unaffected upon consummation of the Prepackaged Plan or
   be replaced by the Exit Facility and the Letter of Credit Facility shall be deemed
   terminated; (iii) holders of Allowed General Unsecured Claims shall receive Cash in
   amount equal to such holder’s Allowed General Unsecured Claim plus accrued and
   unpaid Post-Petition Interest or shall otherwise continue unaffected upon consummation
   of the Prepackaged Plan, to be paid in the ordinary course of business; and (iv) if the
   Class of Existing Common Stockholders votes to accept the Prepackaged Plan, the
   Existing Common Stockholders shall be entitled to receive their pro rata share of the New
   Warrants; if such Class votes to reject the Prepackaged Plan, the Existing Common
   Stockholders shall not be entitled to a distribution under the Prepackaged Plan. The
   Receivables Facility shall be paid in full from the proceeds of the debtor in possession
   financing that will be provided to the Debtors in the Chapter 11 Cases.

           3. The following chart summarizes the treatment provided by the Prepackaged
   Plan to each class of claims and interests and indicates whether the classes are impaired
   or unimpaired.

   CLASS                          CLASS DESCRIPTION              IMPAIRMENT/
                                                                 TREATMENT

   Class One                      Other Priority Claims          Unimpaired

   Class Two                      Other Secured Claims           Unimpaired

   Class Three                    Senior Creditor Claims         Impaired

   Class Four                     General Unsecured Claims       Unimpaired

   Class Five                     Letter of Credit Facility      Unimpaired
                                  Claims

   Class Six                      Intercompany Claims            Unimpaired



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   CLASS                          CLASS DESCRIPTION                IMPAIRMENT/
                                                                   TREATMENT

   Class Seven                    Equity Interests in Debtors      Unimpaired
                                  other than HMH Holdings

   Class Eight                    Existing Common                  Impaired
                                  Stockholders

   Class Nine                     Other Holdings Equity            Impaired
                                  Interests



                Hearing to Consider Compliance with Disclosure Requirements

           4. A hearing to consider compliance with the disclosure requirements, any
   objections to the Disclosure Statement, and any other matter that may properly come
   before the Bankruptcy Court will be held before the Honorable _____________, United
   States Bankruptcy Judge, in Room ____ of the United States Bankruptcy Court, One
   Bowling Green, New York, NY 10004-1408, on ____________ at __: __ _.m. prevailing
   Eastern Time, or as soon thereafter as counsel may be heard (the “Disclosure Statement
   Hearing”). The Disclosure Statement Hearing may be adjourned from time to time
   without further notice other than an announcement of the adjourned date or dates at the
   Disclosure Statement Hearing or at an adjourned Disclosure Statement Hearing and will
   be posted on KCC’s website at http://www.kccllc.net/hmhco.

           5. Any objections to the Disclosure Statement shall be in writing, shall conform
   to the Federal Rules of Bankruptcy Procedure and the Local Rules of the Bankruptcy
   Court, shall set forth the name of the objector, the nature and amount of any claims or
   interests held or asserted by the objector against the estate or property of the Debtors, the
   basis for the objection, and the specific grounds therefor, and shall be filed with the
   Bankruptcy Court at the address specified in the previous paragraph, with a copy
   delivered directly to Chambers, together with proof of service thereof, and served upon
   the following persons so as to be received on or before ______ __, 2012, at __: __ _.m.
   prevailing Eastern Time:

   (i) PAUL, WEISS, RIFKIND,                         (ii) AKIN, GUMP, STRAUSS, HAUER &
       WHARTON & GARRISON, LLP                            FELD, LLP
       1285 Avenue of the Americas                        One Bryant Park
       New York, NY 10019-6064                            New York, NY 10036
       Attn: Alan W. Kornberg, Esq. and                   Attn: Ira S. Dizengoff, Esq. and Philip
       Jeffrey D. Saferstein, Esq.                        C. Dublin, Esq.
       Proposed Counsel to the Debtors and                Counsel to the Informal Creditor
       the Debtors-in-Possession                          Group

   (iii) SHEARMAN & STERLING LLP                     (iv) EMMET, MARVIN & MARTIN LLP
         599 Lexington Avenue                             120 Broadway, 32nd Floor
         New York, NY 10022                               New York, NY 10271
         Attn: Edmund Emrich, Esq. and                    Attn: Bryant Berg, Esq.
         Fredrick Sosnick                                 Counsel to the 10.5% Indenture

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       Counsel to the agent for                         Trustee
       postpetition lenders and First Lien
       Agents

   (v) THE UNITED STATES TRUSTEE                    (vi) SECURITIES AND EXCHANGE
       33 Whitehall Street, 21st Floor                   COMMISSION
       New York, NY 10004                                New York Regional Office
       Attn: Andrea B. Schwartz                          Three World Financial Center
                                                         Suite 400
                                                         New York, NY 10281-1022
                                                         Attn: George S. Canellos
                                                                Regional Director

   (vii) COUNSEL TO ANY OFFICIAL                    (viii) PARTIES REQUESTING NOTICE
         COMMITTEE APPOINTED IN                            PURSUANT TO BANKRUPTCY
         THESE CHAPTER 11 CASES                            RULE 2002


        UNLESS AN OBJECTION IS TIMELY SERVED AND FILED IN
   ACCORDANCE WITH THIS NOTICE, IT MAY NOT BE CONSIDERED BY
   THE BANKRUPTCY COURT.

                     Hearing on Confirmation of the Prepackaged Plan

           6. A hearing to consider confirmation of the Prepackaged Plan, any objections
   thereto, and any other matter that may properly come before the Bankruptcy Court shall
   be held before the Honorable _____________, United States Bankruptcy Judge, in Room
   ___, of the United States Bankruptcy Court, One Bowling Green, New York, NY 10004-
   1408, immediately following the Disclosure Statement Hearing referred to above or at
   such later time as determined by the Bankruptcy Court at the conclusion of the Disclosure
   Statement Hearing (the “Confirmation Hearing”). The Confirmation Hearing may be
   adjourned from time to time without further notice other than as announced at the
   Confirmation Hearing or at an adjourned Confirmation Hearing or posted on KCC’s
   website at http://www.kccllc.net/hmhco.

           7. Objections to the Prepackaged Plan, if any, shall be in writing, shall conform
   to the Federal Rules of Bankruptcy Procedure and the Local Rules of the Bankruptcy
   Court, shall set forth the name of the objector, the nature and amount of any claims or
   interests held or asserted by the objector against the estate or property of the Debtors, the
   basis for the objection, and the specific grounds therefor, and shall be filed with the
   Bankruptcy Court at the address specified in paragraph 4, with a copy delivered directly
   to Chambers, together with proof of service thereof, and served upon the persons set forth
   in paragraph 5 above so as to be received on or before ____, ______, at __: __ _.m.
   prevailing Eastern Time. UNLESS AN OBJECTION IS TIMELY SERVED AND
   FILED IN ACCORDANCE WITHY THIS NOTICE, IT MAY NOT BE
   CONSIDERED BY THE BANKRUPTCY COURT.

           8. The times fixed for the Confirmation Hearing and objections to confirmation
   of the Prepackaged Plan may be rescheduled by the Bankruptcy Court in the event that
   the Bankruptcy Court does not find compliance with the disclosure requirements on


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   _________ __, 2012. Notice of the rescheduled dates or dates, if any, will be provided
   by an announcement at the Disclosure Statement Hearing or at an adjourned Disclosure
   Statement Hearing and will be available on KCC’s website at
   http://www.kccllc.net/hmhco.

                                   Section 341(a) Meeting

           9. A meeting pursuant to section 341(a) of the Bankruptcy Code (the “Section
   341(a) Meeting”) shall be held at the United States Bankruptcy Court, in room ___, One
   Bowling Green, New York, NY 10004-1408, on _________ ___, 2012 at __:__ _.m.
   prevailing Eastern Time. Such meeting will not be convened if (i) the Prepackaged Plan
   is confirmed prior to the date set forth above for the Section 341(a) Meeting and/or (ii)
   the order confirming the Prepackaged Plan (or order entered substantially
   contemporaneously therewith) contains a provision waiving the convening of a Section
   341(a) Meeting.

   Dated: _____________, 2012
          New York, New York


                                        ____________________________________


                                        PAUL, WEISS, RIFKIND, WHARTON
                                        & GARRISON, LLP
                                        Alan W. Kornberg
                                        (akornberg@paulweiss.com)
                                        Jeffrey D. Saferstein
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                                        Facsimile: (212) 757-3990

                                        Proposed Counsel for the Debtors and
                                        Debtors-in-Possession




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